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3                             UNITED STATES DISTRICT COURT
4                         EASTERN DISTRICT OF WASHINGTON
5     UNITED STATES OF AMERICA,                 )
                                                )    NO. NO. CR-09-2089-RHW-4
6                       Plaintiff,              )
                                                )    ORDER DENYING MODIFICATION
7           v.                                  )    OF RELEASE CONDITIONS AND
                                                )    GRANTING MOTION TO EXPEDITE
8     DORA CASTEHADA,                           )
                                                )
9                       Defendant.              )
                                                )
10
11         On October 19, 2009, this court held a bail review hearing.

12 James Goeke appeared for the government and the defendant was
13 present with counsel James Becker.
14         The defendant moved for an expedited bail review hearing

15 which the court granted. (Ct. Rec. 70)
16         The defendant moved to modify the conditions of release

17 stating there has been a change in circumstances.
18         The Court heard argument from counsel.

19         Based upon the information from the initial bail hearing and

20 argument of counsel, the court does not find there has been a
21 change in circumstance and adheres to the previous Order Setting
22 Conditions of Release dated September 30, 2009.
23         The defendant’s motion for modification of release conditions

24 is denied. (Ct Rec. 69)
25         IT IS SO ORDERED.

26         DATED this 20th day of October, 2009.

27                                               s/James P. Hutton
                                                   JAMES P. HUTTON
28                                          United States Magistrate Judge

     ORDER DENYING MODIFICATION OF RELEASE CONDITIONS
     AND GRANTING MOTION TO EXPEDITE
